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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION


JOEL DOBIS,

          Plaintiff,                         Case No. 2:17−cv−00096−GJQ−TPG

    v.

CALUMET, VILLAGE OF,

          Defendant.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: Matthew John Wojda
RE: Reply to Response to Motion − #30
REASON FOR NOTICE: Exhibits or attachments are not identified on their
face by number or letter.
RECOMMENDED ACTION: None.
INFORMATION FOR FUTURE REFERENCE: Local Civil Rule 5.7(d)(vii)
requires that all exhibits and attachments contain on their face a prominent
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Dated: April 6, 2018             By:     /s/ S. Kivela
                                        Deputy Clerk
